Case 18-10633            Doc 15   Filed 10/23/18     Entered 10/23/18 15:53:29    Main Document
                                                   Pg 1 of 5                             Case Discharged on
                                                                                          October 10, 2018
                            IN THE UNITED STATES BANKRUPTCY COURT                            Oct 23, 2018
                             FOR THE EASTERN DISTRICT OF MISSOURI

 In Re:                                                     )
                                                            )      Case No. 18-10633-399
 Joshua L Walker; Tiffany M Walker a/k/a Tiffany M Sellers, )
 Debtors                                                    )      Chapter: 7
                                                            )
 Bank of the West, Moving Creditor                          )      MOTION FOR RELIEF FROM
                                                            )      STAY AND NOTICE OF HEARING
 vs.                                                        )
                                                            )      Hearing Date: November 5,
 Joshua L Walker; Tiffany M Walker a/k/a Tiffany M Sellers, )      2018
 Debtor                                                     )      Hearing Time: 1:45 pm
                                                            )      Location: Cape Girardeau
 and                                                        )      Courthouse
                                                            )      COURTROOM A
 Tom K. O'Loughlin, Trustee                                 )      555 S. Independence Street
                                                                   Cape Girardeau, MO 63701

                                                                   Michael P. Gaughan, Esq.
                                                                   Daniel A. West, #98415
                                                                   Wendee Elliott-Clement, MBE
                                                                   #50311
                                                                   Lisa C. Billman, MBE #64535
                                                                   13160 Foster Suite 100
                                                                   Overland Park, KS 66213-2660
                                                                   (913) 663-7600

                            MOTION FOR ORDER MODIFYING AUTOMATIC STAY
                                COMBINED WITH NOTICE OF HEARING

 WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
 IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
 PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
 AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
 YOU MUST FILE AND SERVE YOUR RESPONSE BY OCTOBER 29, 2018
 YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF
 YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
 FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
 REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. THE DATE IS SET
 OUT ABOVE. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
 CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
 HEARING.
 REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

 .




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         COMES NOW, Bank of the West, ts subsidiaries, affiliates, predecessors in interests, successors

 or assigns, (“Movant”), and in support of its motion, states as follows:

         1.       Joshua L Walker, and Tiffany M Walker, Debtors, are indebted to Bank of the West in

 the sum of $44,766.67 plus interest. Debtors’ debt is secured by a first, prior and duly perfected security

 interest in, to and against 2015 Ram 2500 VIN:3C6UR5DL9GG141185. (the “collateral”) Debtors’ debt,

 Movant’s interest, and the perfection of Movant’s security interest are evidenced by the documents which

 are listed on the Summary of Exhibits and attached hereto.

         2.       The Movant’s interest in and to the Collateral is not adequately protected and the Movant

 will sustain irreparable harm, loss, damage and prejudice if the automatic stay imposed by Section 362(a)

 of the Bankruptcy Code is not modified as hereinafter prayed. In particular:

         (a)      The Debtors are past due for the June 27, 2018 payment and all payments thereafter for a

 total delinquency of $2,225.01 plus interest, excluding to the extent of any applicable late charges,

 attorney fees and/or attorney costs or other fees or costs included herein in the Contract and Security

 Agreement.

         (b)      The Collateral is secured beyond its value of $32,168.00 and the estate has no equity

 therein, based upon the value/as listed on Schedule D of Debtors’ Schedules.

         (c)      The Debtors’ Statement of Intention provides that the Collateral is to be surrendered

         3.       WHEREFORE, Movant, its successors or assigns, respectfully requests the Court to

 enter, among others, the following orders:

         (a)      An order modifying the automatic stay for the purpose of allowing Movant to repossess

 and sell the collateral and to apply all proceeds therefrom to the Debtors’ debt;

         (b)      An order waiving the 14-day stay imposed by Bankruptcy Rule 4001(a)(3).

         (c)      An order granting such other and further relief as the Court deems just




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 SOUTHLAW, P.C.
 /s/ Michael P Gaughan________________
 Michael P Gaughan ( MBE #31121; EDMO #93625; KSFd #70125)
 Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
 13160 Foster, Suite 100
 Overland Park, KS 66213
 (913) 663-7600
 (913) 663-7899 (Fax)
 michael.gaughan@southlaw.com
 ATTORNEYS FOR MOVANT


                                  CERTIFICATE OF MAILING/SERVICE

 The undersigned certifies that the foregoing document was served on September 6, 2018 electronically to
 those parties who have entered an appearance in the Court’s Electronic Court Filing (ECF) System
 (Counsel and Trustee) and conventionally, via first-class mail, postage prepaid, to the Debtor(s) at the
 following address




 SOUTHLAW, P.C.
 /s/ Michael P Gaughan________________
 Michael P Gaughan ( MBE #31121; EDMO #93625; KSFd #70125)
 Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
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 michael.gaughan@southlaw.com
 ATTORNEYS FOR MOVANT

 Joshua L Walker
 Tiffany M Walker
 HC 3 Box 201
 Ellsinore, MO 63937
 DEBTORS

 Jennifer Hackworth Thompson
 Hackworth, Ferguson & Thompson, LLC
 1401 North Main St.
 Suite 200
 Sikeston, MO 63801
 ATTORNEY FOR DEBTORS

 Tom K. O'Loughlin
 1736 N. Kingshighway
 Cape Girardeau, MO 63701
 TRUSTEE


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                       IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF MISSOURI AT CAPE GIRARDEAU

 In Re:                                                     )
                                                            )
 Joshua L Walker; Tiffany M Walker a/k/a Tiffany M Sellers, )
 Debtors                                                    )       Case No. 18-10633-399
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                                                            )       Chapter: 7
 Bank of the West, Moving Creditor                          )
                                                            )       MOTION FOR RELIEF FROM
 vs.                                                        )       STAY AND NOTICE OF HEARING
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                                                                    555 S. Independence Street
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                                                                    Michael P. Gaughan, Esq.
                                                                    Daniel A. West, #98415
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                                                                    #50311
                                                                    Lisa C. Billman, MBE #64535
                                                                    13160 Foster Suite 100
                                                                    Overland Park, KS 66213-2660
                                                                    (913) 663-7600

                           SUMMARY OF EXHIBITS AND CERTIFICATE OF SERVICE

         Pursuant to L.B.R. 9040-1, the following exhibits to the Motion for Order Modifying Automatic
 Stay are filed herewith and mailed via regular first class mail to the Debtors:

          1.   Retail Installment Contract/Security Agreement dated November 30, 2016

          2.   Notice of Lien

 Respectively submitted,




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 Overland Park, KS 66213
 (913) 663-7600
 (913) 663-7899 (Fax)
 michael.gaughan@southlaw.com
 ATTORNEYS FOR MOVANT


 I certify that a true copy of the Attached Pleading was served electronically upon counsel and the
 trustee and via first class mail on September 6, 2018 upon the Debtors at the following address
 :


 Joshua L Walker
 Tiffany M Walker
 HC 3 Box 201
 Ellsinore, MO 63937
 DEBTORS

 Jennifer Hackworth Thompson
 Hackworth, Ferguson & Thompson, LLC
 1401 North Main St.
 Suite 200
 Sikeston, MO 63801
 ATTORNEY FOR DEBTORS

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 TRUSTEE




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